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  8
                                UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
 10
 11     Orlando Garcia,                           Case No.

 12               Plaintiff,
                                                  Complaint For Damages And
 13       v.                                      Injunctive Relief For Violations
                                                  Of: Americans With Disabilities
 14     RKC Investment, LLC, a California         Act; Unruh Civil Rights Act
        Limited Liability Company;
 15     Sang M. Oh

 16               Defendants.

 17
 18         Plaintiff Orlando Garcia complains RKC Investment, LLC, a California

 19   Limited Liability Company; Sang M. Oh; and alleges as follows:

 20
 21     PARTIES:

 22     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a

 23   level C-5 quadriplegic. He also suffers from Cerebral Palsy. He has manual

 24   dexterity issues. He uses a wheelchair for mobility.

 25     2. Defendant RKC Investment, LLC owned the real property located at or

 26   about 6217 S Figueroa St, Los Angeles, California, in November 2020.

 27     3. Defendant RKC Investment, LLC owns the real property located at or

 28   about 6217 S Figueroa St, Los Angeles, California, currently.


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  1     4. Defendant Sang M. Oh owned Top Coin Laundry located at or about
  2   6217 S Figueroa St, Los Angeles, California, in November 2020.
  3     5. Defendant Sang M. Oh owns Top Coin Laundry located at or about
  4   6217 S Figueroa St, Los Angeles, California, currently.
  5     6. Plaintiff does not know the true names of Defendants, their business
  6   capacities, their ownership connection to the property and business, or their
  7   relative responsibilities in causing the access violations herein complained of,
  8   and alleges a joint venture and common enterprise by all such Defendants.
  9   Plaintiff is informed and believes that each of the Defendants herein is
 10   responsible in some capacity for the events herein alleged, or is a necessary
 11   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
 12   the true names, capacities, connections, and responsibilities of the Defendants
 13   are ascertained.
 14
 15     JURISDICTION & VENUE:
 16     7. The Court has subject matter jurisdiction over the action pursuant to 28
 17   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 18   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 19     8. Pursuant to supplemental jurisdiction, an attendant and related cause
 20   of action, arising from the same nucleus of operative facts and arising out of
 21   the same transactions, is also brought under California’s Unruh Civil Rights
 22   Act, which act expressly incorporates the Americans with Disabilities Act.
 23     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 24   founded on the fact that the real property which is the subject of this action is
 25   located in this district and that Plaintiff's cause of action arose in this district.
 26
 27
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  1     FACTUAL ALLEGATIONS:
  2     10. Plaintiff went to Top Coin Laundry in November 2020 with the
  3   intention to avail himself of its services and to assess the business for
  4   compliance with the disability access laws.
  5     11. Top Coin Laundry is a facility open to the public, a place of public
  6   accommodation, and a business establishment.
  7     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
  8   to provide wheelchair accessible change machines in conformance with the
  9   ADA Standards as it relates to wheelchair users like the plaintiff.
 10     13. Top Coin Laundry provides change machines to its customers but fails
 11   to provide any wheelchair accessible change machines.
 12     14. One problem that plaintiff encountered is that the dollar bill slots in the
 13   change machine were too high.
 14     15. Plaintiff believes that there are other features of the change machines
 15   that likely fail to comply with the ADA Standards and seeks to have fully
 16   compliant change machines available for wheelchair users.
 17     16. On information and belief, the defendants currently fail to provide
 18   wheelchair accessible change machines.
 19     17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
 20   provide wheelchair accessible work surfaces in conformance with the ADA
 21   Standards as it relates to wheelchair users like the plaintiff.
 22     18. Top Coin Laundry provides work surfaces to its customers but fails to
 23   provide any wheelchair accessible work surfaces.
 24     19. The problem that plaintiff encountered is that the folding tables were
 25   too high.
 26     20. Plaintiff believes that there are other features of the work surfaces that
 27   likely fail to comply with the ADA Standards and seeks to have fully compliant
 28   work surfaces available for wheelchair users.


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  1     21. On information and belief, the defendants currently fail to provide
  2   wheelchair accessible work surfaces.
  3     22. These barriers relate to and impact the plaintiff’s disability. Plaintiff
  4   personally encountered these barriers.
  5     23. As a wheelchair user, the plaintiff benefits from and is entitled to use
  6   wheelchair accessible facilities. By failing to provide accessible facilities, the
  7   defendants denied the plaintiff full and equal access.
  8     24. The failure to provide accessible facilities created difficulty and
  9   discomfort for the Plaintiff.
 10     25. The defendants have failed to maintain in working and useable
 11   conditions those features required to provide ready access to persons with
 12   disabilities.
 13     26. The barriers identified above are easily removed without much
 14   difficulty or expense. They are the types of barriers identified by the
 15   Department of Justice as presumably readily achievable to remove and, in fact,
 16   these barriers are readily achievable to remove. Moreover, there are numerous
 17   alternative accommodations that could be made to provide a greater level of
 18   access if complete removal were not achievable.
 19     27. Plaintiff will return to Top Coin Laundry to avail himself of its services
 20   and to determine compliance with the disability access laws once it is
 21   represented to him that Top Coin Laundry and its facilities are accessible.
 22   Plaintiff is currently deterred from doing so because of his knowledge of the
 23   existing barriers and his uncertainty about the existence of yet other barriers
 24   on the site. If the barriers are not removed, the plaintiff will face unlawful and
 25   discriminatory barriers again.
 26     28. Given the obvious and blatant nature of the barriers and violations
 27   alleged herein, the plaintiff alleges, on information and belief, that there are
 28   other violations and barriers on the site that relate to his disability. Plaintiff will


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  1   amend the complaint, to provide proper notice regarding the scope of this
  2   lawsuit, once he conducts a site inspection. However, please be on notice that
  3   the plaintiff seeks to have all barriers related to his disability remedied. See
  4   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
  5   encounters one barrier at a site, he can sue to have all barriers that relate to his
  6   disability removed regardless of whether he personally encountered them).
  7
  8   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
  9   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 10   Defendants.) (42 U.S.C. section 12101, et seq.)
 11     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 12   again herein, the allegations contained in all prior paragraphs of this
 13   complaint.
 14     30. Under the ADA, it is an act of discrimination to fail to ensure that the
 15   privileges, advantages, accommodations, facilities, goods and services of any
 16   place of public accommodation is offered on a full and equal basis by anyone
 17   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 18   § 12182(a). Discrimination is defined, inter alia, as follows:
 19            a. A failure to make reasonable modifications in policies, practices,
 20                or procedures, when such modifications are necessary to afford
 21                goods,     services,   facilities,   privileges,    advantages,     or
 22                accommodations to individuals with disabilities, unless the
 23                accommodation would work a fundamental alteration of those
 24                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 25            b. A failure to remove architectural barriers where such removal is
 26                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 27                defined by reference to the ADA Standards.
 28            c. A failure to make alterations in such a manner that, to the


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  1                maximum extent feasible, the altered portions of the facility are
  2                readily accessible to and usable by individuals with disabilities,
  3                including individuals who use wheelchairs or to ensure that, to the
  4                maximum extent feasible, the path of travel to the altered area and
  5                the bathrooms, telephones, and drinking fountains serving the
  6                altered area, are readily accessible to and usable by individuals
  7                with disabilities. 42 U.S.C. § 12183(a)(2).
  8     31. When a business provides facilities such as change machines, it must
  9   provide accessible change machines.
 10     32. Here, accessible change machines have not been provided in
 11   conformance with the ADA Standards.
 12     33. When a business provides facilities such as work surfaces, it must
 13   provide accessible work surfaces.
 14     34. Here, accessible work surfaces have not been provided in conformance
 15   with the ADA Standards.
 16     35. The Safe Harbor provisions of the 2010 Standards are not applicable
 17   here because the conditions challenged in this lawsuit do not comply with the
 18   1991 Standards.
 19     36. A public accommodation must maintain in operable working condition
 20   those features of its facilities and equipment that are required to be readily
 21   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 22     37. Here, the failure to ensure that the accessible facilities were available
 23   and ready to be used by the plaintiff is a violation of the law.
 24
 25   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 26   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 27   Code § 51-53.)
 28     38. Plaintiff repleads and incorporates by reference, as if fully set forth


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  1   again herein, the allegations contained in all prior paragraphs of this
  2   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
  3   that persons with disabilities are entitled to full and equal accommodations,
  4   advantages, facilities, privileges, or services in all business establishment of
  5   every kind whatsoever within the jurisdiction of the State of California. Cal.
  6   Civ. Code §51(b).
  7      39. The Unruh Act provides that a violation of the ADA is a violation of the
  8   Unruh Act. Cal. Civ. Code, § 51(f).
  9      40. Defendants’ acts and omissions, as herein alleged, have violated the
 10   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 11   rights to full and equal use of the accommodations, advantages, facilities,
 12   privileges, or services offered.
 13      41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 14   discomfort or embarrassment for the plaintiff, the defendants are also each
 15   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 16   (c).)
 17
 18             PRAYER:
 19             Wherefore, Plaintiff prays that this Court award damages and provide
 20   relief as follows:
 21           1. For injunctive relief, compelling Defendants to comply with the
 22   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 23   plaintiff is not invoking section 55 of the California Civil Code and is not
 24   seeking injunctive relief under the Disabled Persons Act at all.
 25           2. Damages under the Unruh Civil Rights Act, which provides for actual
 26   damages and a statutory minimum of $4,000 for each offense.
 27           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 28   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.


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  1   Dated: November 23, 2020     CENTER FOR DISABILITY ACCESS
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  4                                By:
                                   _______________________
  5
                                         Russell Handy, Esq.
  6                                      Attorney for plaintiff
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